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      EXHIBIT 109
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                     Subject: MPS LOB Delta Report
                       From:
                Received(Date): Sat, 10 Nov 2018 18:02:45 +0000
                          To:
                 Attachment: MPS LOB Delta Report - 2018-11-10-18-01-14.pdf
                        Date: Sat, 10 Nov 2018 18:02:45 +0000

               Notes:
                  - Published Saturdays at 10am
                  - WoW delta between current and last week MPS publications
                  - Deltas at LOB, Class, and Ops Subclass level

               Questions? Contact

               Apple Confidential - Do Not Forward

               Path (DS use): MPS / Ad Hoc




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      WW MPS WoW Deltas by Product Class
      MPS Volumes in MM units - Data as of 11/10/18
                         FY18Q4 (Last Quarter)                          FY19Q1                                   FY19Q2                                      FY19Q3                     Cum
      LOB             Prior    Current      Delta         Prior         Current     Delta          Prior         Current         Delta         Prior         Current     Delta          MPS
      Mac                     4.9     4.9           0.0           7.0         6.5       -0.5               4.8            5.2            0.5           3.1         3.1           0.0          0.0
      iPod                    0.4     0.4           0.0           0.5         0.5           0.0            0.3            0.3            0.0                                                  0.0
      iPhone              42.7       42.7           0.0      81.5            81.5           0.1       62.6            62.5           -0.1              0.0        14.3      14.3           14.3
      iPad                11.2       11.2           0.0      14.5            14.5           0.0            9.1            9.3            0.2           0.0         1.3           1.3          1.6
      Beats                   4.5     1.4        -3.1             3.1         2.8       -0.4               1.9            2.2            0.3                       4.4           4.4          1.2
      Apple TV                1.1     1.1           0.0           1.4         1.4           0.0            0.8            0.8            0.0           0.9         0.9           0.0          0.0
      Watch                   4.4     3.2        -1.2        10.7            10.7           0.0            8.0            7.9            0.0           3.9         3.9           0.0        -1.2
      Watch Accy              1.2     1.2           0.0           1.5         1.4       -0.1               0.5            0.4        -0.1              0.4         0.5           0.2          0.0

                         FY18Q4 (Last Quarter)                          FY19Q1                                   FY19Q2                                      FY19Q3                     Cum
      Class           Prior     Current     Delta         Prior         Current     Delta          Prior         Current         Delta         Prior         Current     Delta          MPS
      iMac                  0.6       0.6         0.0             0.5         0.5           0.0            0.7         0.7               0.0           0.4         0.4           0.0          0.0
      Mac Pro                 0.0     0.0           0.0           0.0         0.0           0.0            0.0            0.0            0.0                       0.0           0.0          0.0
      Mac Mini                0.1     0.1           0.0           0.5         0.5           0.0            0.2            0.2            0.0           0.1         0.1           0.0          0.0
      MacBook Air          1.3        1.3           0.0       3.1             2.7       -0.3           1.7             2.0            0.3              0.8         0.8           0.0        0.0
      MacBook Pro          2.8        2.8           0.0       2.7             2.6       -0.1           2.1             2.2            0.1              1.7         1.7           0.0        0.0
      iPod Touch           0.4        0.4           0.0       0.5             0.5        0.0           0.3             0.3            0.0                                                   0.0
      iPhone              42.7       42.7           0.0      81.5            81.5        0.1          62.6            62.5           -0.1              0.0        14.3      14.3           14.3
      iPad                11.2       11.2         0.0        14.5            14.5        0.0               9.1            9.3         0.2              0.0         1.3           1.3         1.6
      Beats                4.5        1.4        -3.1         3.1             2.8       -0.4               1.9            2.2         0.3                          4.4           4.4         1.2
      Apple TV             1.1        1.1         0.0         1.4             1.4        0.0               0.8            0.8         0.0              0.9         0.9           0.0         0.0
      Macbook              0.2        0.2         0.0         0.2             0.2        0.0               0.1            0.1         0.0              0.1         0.1           0.0         0.0
      Watch                4.4        3.2        -1.2        10.7            10.7        0.0               8.0            7.9         0.0              3.9         3.9           0.0        -1.2
      Watch Accy           1.2        1.2         0.0         1.5             1.4       -0.1               0.5            0.4        -0.1              0.4         0.5           0.2         0.0

      Products with MPS changes - in K units
      Mac & Apple TV                                                    FY19Q1                                                  FY19Q2                                                 FY19Q3
      Rank        Product                                 Prior         Current     Delta         Delta %         Prior         Current        Delta         Delta %     Prior         Current      Delta      Delta %
      1           O_J64                                      121.7          101.5      -20.2          -17%                           20.2          20.2          100%
      2           O_J140                                   2,331.5        2,009.3     -322.3          -14%         1,023.0        1,345.5        322.5            32%
      3           O_J132                                     952.0          832.0     -120.0          -13%           588.5          708.5        120.0            20%      754.0          754.0          0.0        0%
      4           O_J42                                      376.7          381.4         4.8           1%           287.3          298.9          11.6             4%     286.2          269.9        -16.4       -6%
      5           O_J135                                     217.5          217.6         0.0           0%            91.2           97.2            6.0            7%      13.0            7.0         -6.0      -46%
      6           O_J90                                       13.7           13.7         0.0           0%             8.0            8.0            0.0            0%                      4.0          4.0      100%
      7           O_J134                                     188.6          188.6         0.0           0%           106.4          110.9            4.5            4%      13.1           20.0          6.9       53%
      8           O_J133                                      95.9           95.9         0.0           0%            68.1           63.6          -4.5            -7%      92.9           86.0         -6.9       -7%

      iPod
      Rank          Product                               Prior         Current     Delta         Delta %         Prior         Current        Delta         Delta %     Prior         Current      Delta      Delta %


      iPhone                                                            FY19Q1                                                  FY19Q2                                                 FY19Q3
      Rank          Product                               Prior         Current     Delta         Delta %         Prior         Current        Delta         Delta %     Prior         Current      Delta      Delta %


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      iPhone                                 FY19Q1                                          FY19Q2                                            FY19Q3
      Rank        Product         Prior      Current     Delta       Delta %     Prior       Current     Delta       Delta %     Prior         Current     Delta      Delta %
      1           O_N66              995.2     1,065.2       70.0          7%     1,085.2      1,015.2      -70.0          -6%           0.0       400.0      400.0       100%
      2           O_D11              458.5       458.1       -0.3          0%     1,899.8      1,900.6         0.8          0%           0.0       722.7      722.7       100%
      3           O_D20            7,178.9     7,179.4         0.5         0%     9,372.2      9,371.7       -0.5           0%           0.0     3,394.1    3,394.1       100%
      4           O_N71            3,274.3     3,274.3         0.0         0%     4,987.9      4,987.9         0.0          0%           0.0     1,822.6    1,822.6       100%
      5           O_D33           17,838.0    17,838.0         0.0         0%     6,604.2      6,604.2         0.0          0%           0.0     2,530.7    2,530.7       100%
                  O_D10            2,957.6     2,957.6                            4,782.0      4,782.0                                   0.0     1,799.1    1,799.1       100%
                  O_D21            3,765.8     3,765.8                            4,962.2      4,962.6        0.4          0%            0.0     1,790.0    1,790.0       100%
                  O_D32           10,501.6    10,501.6                            5,879.4      5,879.4                                   0.0     1,853.7    1,853.7       100%

      iPad                                   FY19Q1                                          FY19Q2                                            FY19Q3
      Rank        Product         Prior      Current     Delta       Delta %     Prior       Current     Delta       Delta %     Prior         Current     Delta      Delta %
      1           O_J97              119.0       123.9        4.9           4%      110.9         89.2      -21.7        -20%            0.0         0.0
      2           O_J318             786.8       798.7       11.9           2%      420.7        401.1      -19.6          -5%           0.0       306.9     306.9       100%
      3           O_J96              510.0       505.1       -4.9          -1%      264.4        286.1       21.7           8%           0.0         0.0
      4           O_J317           1,253.2     1,241.3      -11.9          -1%      649.3        668.9       19.6           3%           0.0       595.4     595.4       100%
      5           O_J208             153.1       151.7       -1.3          -1%       47.4         47.6         0.1          0%           0.0         0.0
      6           O_J321             430.4       432.7        2.4           1%      231.9        310.6       78.6         34%            0.0       194.9     194.9       100%
      7           O_J207             301.0       302.3        1.3           0%       52.6         52.4       -0.1           0%           0.0         0.0
      8           O_J320             724.6       722.3       -2.4           0%      353.1        481.4     128.4          36%            0.0       311.1     311.1       100%
      9           O_J121              35.0        34.9       -0.1           0%         0.0         0.0                                   0.0       -34.9     -34.9      #DIV/0
      10          O_J120              29.7        29.7        0.0           0%         0.0         0.0                                   0.0       -29.7     -29.7      #DIV/0

      Beats                                  FY19Q1                                          FY19Q2                                            FY19Q3
      Rank        Product         Prior      Current     Delta       Delta %     Prior       Current     Delta       Delta %     Prior         Current     Delta      Delta %
      1           1WU_L04          1,716.4     1,384.8     -331.5        -19%     1,071.0      1,423.0     352.0          33%                    2,638.4    2,638.4       100%
      2           1WV_L04            965.3       940.3      -25.0          -3%      487.4        430.4      -57.0        -12%                    1,462.6    1,462.6       100%
      3           2QP_L04            380.3       380.3         0.0          0%      233.5        233.5                                             272.6      272.6       100%
                  2SC_L04             66.5        66.5                               79.3         79.3                                              35.9       35.9       100%

      Watch                                  FY19Q1                                          FY19Q2                                            FY19Q3
      Rank        Product         Prior      Current     Delta       Delta %     Prior       Current     Delta       Delta %     Prior         Current     Delta      Delta %
      1           O_N121B          1,128.5     1,168.6       40.1          4%       516.9        476.9      -40.0          -8%       16.6           16.6

      Watch Accy                             FY19Q1                                          FY19Q2                                            FY19Q3
      Rank       Product          Prior      Current     Delta       Delta %     Prior       Current     Delta       Delta %     Prior         Current     Delta      Delta %
      1          5A1_L04           1,477.7     1,377.3     -100.4          -7%      510.4        428.8      -81.7        -16%       386.1          542.2     156.2         40%




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